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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


  UNITED STATES OF AMERICA
                                                        No. 21-cr-10200-RGS
         v.

  ABHIJIT DAS


              ASSENTED-TO MOTION TO CONTINUE SURRENDER DATE

       Defendant Abhijit Das, with the assent of the government, respectfully requests to

continue his surrender date for 90 days, through and including April 21, 2025.

       As grounds for this motion, at the sentencing hearing, this Court had indicated it would

evaluate a request for a stay of surrender pending appeal once the Court has a “chance to read

what the substance of the appeal is and what the Government has to say in response.” 7/18/24 Tr.

at 24. However, appellate counsel (Jack Pirozzolo of Sidley Austin LLP) is not yet able to make

that presentation to the Court because the trial transcripts are not yet complete. In addition, the

second case before Judge Angel Kelley, No. 23-cr-10160, remains pending and continued release

will facilitate trial preparation by undersigned counsel, who represent Mr. Das in that case.

                                               Respectfully submitted,

                                               ABHIJIT DAS

                                               by his attorneys,

                                                      /s/ William Fick
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                                       Certificate of Service

        I hereby certify that this document and any attachments filed through the ECF system
will be sent electronically to the registered participants as identified on the Notice of Electronic
Filing (NEF) on January 6, 2025.

                                               /s/ William Fick




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